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                      IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF PENNSYLVANIA

RENEE JACKSON
                                                     Civil Action No. lS-5728 (ECB)
                Plaintiff,

                       v.

GREATER PfilLADELPHIA HEALTH
ACTION, INC., et al.

               Defendants.


               STIPULATION TO SUBSTITUTE THE UNITED STATES AS
                   DEFENDANT AND FOR VOLUNTARY DISMISSAL

        The undersigned parties Renee Jackson, Thomas Jefferson University Hospitals, Inc.,

Methodist Hospital Division (incorrectly identified separately in the caption as Methodist

Hospital and Thomas Jefferson University Hospital, Inc. - Methodist Hospital Division),

Anthony Luistro, Michael Spiliopoulos, Melora Jones, Southeast Health Center, and Greater

Philadelphia Health Action, Inc. hereby stipulate and agree as follows:

    I) to dismiss with prejudice defendants Southeast Health Center, Greater Philadelphia

        Health Action, Luistro, Spiliopoulos, and Jones (the "federal defendants"), pursuant to 42

        U.S.C. § 233(c), and to substitute the United States as the sole federal defendant in their

        stead; 1 and

   2) to dismiss this action with prejudice against the United States and the remaining non-

        federal defendants Thomas Jefferson University Hospitals, Inc., Methodist Hospital


1 Thereasons for the dismissal and substitution are set forth in the ''Federal Defendants' Motion
to Substitute the United States and to Dismiss the PlaintiWs Complaint" at Doc. No. 2. 10128115.
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      Division (incorrectly identified separately in the caption as Methodist Hospital and

      Thomas Jefferson University Hospital, Inc. - Methodist Hospital Division), pursuant to

       Federal Rule of Civil Procedure 4 t (a)( l )(A)(ii). Each party to bear their own costs and

      fees.




Dated: February 1, 2016




                                                     ZANE DAYID MEMEGER
                                                      United States Attorney




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                                                     MtfilGARETLHUT:rfNSON
                                                     Chief, Civil Division
                                                      Assistant United States Attorney




Dated: February l, 2016




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                  _,,.
Dated: December   \~,    2015

                                             CHRISTINE N. DANTONIO, ESQUIRE
                                             Counsel for Defendant,
                                             Thomas Jefferson University Hospitals, Inc.,
                                             Methodist Hospital Division (incorrectly
                                             identified separately as Methodist Hospital
                                             and Thomas Jefferson University Hospital,
                                             Inc. - Methodist Hospital Division)
                                      ~
                                 ~--
      APPROVEpby the Court this _ _          day of   <('Z ~ls.A: 7   ll       '2015.




                                 ~L c.-t_~
                                      HONORABLEEDUARDOC.ROBRENO
                                      Judge, United States District Court




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